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UNITED STATES COURT OF APPEALS
FOR THE
SECOND CIRCUIT

At a Stated Term of the United States Court of Appeals for the Second Circuit, held at the
Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
16" day of June, two thousand twenty-five.

Before: Richard J. Sullivan,
Circuit Judge.
Jordin Alexander Melgar-Salmeron, ORDER
Petitioner, Docket No. 23-7792
Vv.

Pamela Bondi, United States Attorney
General,

Respondent.

Petitioner moves for leave to file a late reply to the Government’s letter dated June 9,
2025.

IT IS HEREBY ORDERED that the request is GRANTED.

For the Court:
Catherine O’ Hagan Wolfe,
Clerk of Court

